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 8
 9                             UNITED STATES DISTRICT COURT
10                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                   )        Case No. 2:12-cr-00118 GEB
12                                               )
                           Plaintiff,            )        STIPULATION REGARDING
13                                               )        EXCLUDABLE TIME PERIODS
                    v.                           )        UNDER SPEEDY TRIAL
14                                               )        ACT;[PROPOSED] FINDINGS AND
     HURSHID HALDAROV, et al.                    )        ORDER
15                                               )
                           Defendant.            )
16                                               )
                                                 )
17
18          Plaintiff United States of America, by and through its counsel of record, and
19   defendant, by and through his counsel of record, hereby stipulate as follows:
20          1.      By previous order, this matter was set for status on July 13, 2012.
21          2.      By this stipulation, defendant now moves to continue the status conference
22   until September 7, 2012 and to exclude time between July 13, 2012 and September 7,
23   2012 under Local Code T4. Plaintiff does not oppose this request.
24          3.      The parties agree and stipulate, and request that the Court find the
25   following:
26          a.      The government has represented that the discovery associated with this case
27                  and the United States v. Chartaev case, which was found to be related to
28                  this case, includes over 4,000 pages. All of this discovery has been either
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 1                  produced directly to counsel and/or made available for inspection and
 2                  copying.
 3          b.      Counsel for defendant desires additional time to consult with his client, to
 4                  review the current charges, to conduct investigation and research related to
 5                  the charges, and to discuss potential resolutions with his client.
 6          c.      Counsel for defendant believes that failure to grant the above-requested
 7                  continuance would deny him the reasonable time necessary for effective
 8                  preparation, taking into account the exercise of due diligence.
 9          d.      The government does not object to the continuance.
10          e.      Based on the above-stated findings, the ends of justice served by continuing
11                  the case as requested outweigh the interest of the public and the defendant
12                  in a trial within the original date prescribed by the Speedy Trial Act.
13          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
14                  3161, et seq., within which trial must commence, the time period of July 13,
15                  2012 to September 7, 2012, inclusive, is deemed excludable pursuant to 18
16                  U.S.C.§ 3161(h)(7)(A), B(iv) and Local Code T4 because it results from a
17                  continuance granted by the Court at defendant’s request on the basis of the
18                  Court's finding that the ends of justice served by taking such action
19                  outweigh the best interest of the public and the defendant in a speedy trial.
20          4.      Nothing in this stipulation and order shall preclude a finding that other
21   provisions of the Speedy Trial Act dictate that additional time periods are excludable
22   from the period within which a trial must commence.
23   IT IS SO STIPULATED.
24
     Dated: July 11, 2012                            /s/ Steve Lapham
25                                               STEVE LAPHAM
                                                 Assistant U.S. Attorney
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28                                                  2
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 1   Dated: July 11, 2012                  /s/ John R. Duree, Jr.
                                         JOHN R. DUREE, JR.
 2                                       Attorney for KHADZIMURAD BABATOV
 3
 4                                     ORDER
 5
           IT IS SO FOUND AND ORDERED.
 6
 7   Dated: July 11, 2012

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 9                                    GARLAND E. BURRELL, JR.
10                                    Senior U. S. District Judge

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